                        THE WHITE HOUSE
                          WASHINGToN


                       October 19, 1977


HEMORANDUM FOR THE PRESIDENT
               THE CABINET

PROM             JIM SCELESINGER   ,;/
                 STU EIZENSTAT ) |LL

SUBJECT          BRIEFING MATERIAL ON NATIONAL ENERGY PLAN

This demorandum will provide you with:
        042
         The basic themes of our presentation on energy legisla-
         tion. These can be used as talking points.
        042
         An overview of the energy problem and how our Plan meets
         these needs.
        042
         A schedule of major events in the coming weeks and
         information on the Conference.
        042
         An outline of the major provisions of the National
         Energy Plan and a summary of House and Senate changes.
Attached to this    memorandum is a suggested basic speech.
Several optional    inserts dealing with specific impacts
 (labor, farmers,   consumers, international aspects) are
included to help    target speeches to specific audiences.
A set of the toughest questions and answers on the energy
plan are also.attached. Should you need any other informa-
tion, we are happy to provide it.
BASIC ENERGY THEMES

1.     With every passina day the energy problem grows worse.
       We used more gasoline this summer than ever before.
       We import more oil at higher prices than ever before,
          and have become more dependent on uncertain foreign
          supplies.
       We continue to waste energy in our factories, our cars,
          and our homes at rates which we cannot afford.




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      We continue to out off the hard choices and the sacri-
      fices in booes that the problem will go away -- it won't.
      There are no easy choices or comtortable solutions. But
      the disaster we face in the future if we tall to act is
      even harder than the choices we must make now. If we
      act now, while there is time, we can balance energy needs
      and energy supplies without severo economic disruption.
2.     Enactment of a strong, responsible energy plan tests our
       will as a people, and tests the strength of our system of
     * government. Can we, with our system of government, act
       to avoid disaster before its most severe effects become
       visible? Both the President and the -Congress will be
       judged on their ability to act before a crisis overwhelms
       us.
3.    Odr extraordinary dependence on foreign oil -- which is
      costing us $45 billion this year -- threatens our national
      security. We cannot afford to have our energy sources and
      prices held hostage to the desires and whims of foreign
      oil producing nations. Our huge oil bill drains billions
      out of our economy robbing Americans of iobs. It creates
      unacceptable deficits in our balance of trade.
4.    The President's Energy Plan is balanced and fair.   It
      relies on three principal strategies:
         e   conservation -- making more efficient use of the
                             energy supplies which we now have:
         e   fair production incentives -- ensuring that our
                             energy industries receive the
                             revenues they need to find new
                             domestic supplies of oil and gas
                             without letting them profiteer;
         e   conversion --   switching to more abundant energy
                             sources such as coal and solar energy.
5.    Energy prices will inevitably increase, with or without a
      plan. The President's Plan protects the consumer through:
             042
             keeping a ceiling on natural gas orices and making
             sure that increases are borne primarily by industry.
             042
              rebates to consumers to offset increased oil prices
              rather than giving windfall profits to the oil com-
              panies.




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       e   insulation and utility rate reform programs to
           keep electric bills from skyrocketing.
5.   The President's National Energy Plan would not raid the
     Federal Treasury. It would not bust the budget and swell
     the federal deficit. Solutions to the energy problem
     should not eat up resources which are needed for other
     national needs.
6.. If we in government fail to act, the responsibility will
    be on our shoulders. Future generations will say "they
    could have saved us, but they didn't." The responsibility
    will be on the powerful, but the terrible cost of our
    failure will be paid by the averaae workinc family in
    this country.
7.   The Congress and the President can act tocether to estab-
     lish a National Eneroy Plan. This is the President's
     highest priority and the entire Carter Administration will
     continue to fight for the princioles ano the procrams out
     forward last April. Congress should not recess for the
     year without an adequate energy bill. But no bill would
     be preferable to an unacceptable bill which fails to pro-
     tect the consumer.

OVERVIEW OF THE PROBLEM AND THE PLAN
Production of oil and natural gas, which now supplies 7,5% of our
energy, has been declining by 6% per year. Oil imports nave
doubled in the last five years and now make up half our sup-
ply. Imports will cost $45 billion this year.
Before the end of the century, and perhaps as early as the
mid-1980's, world demand for oil will outstrip capacity to
produce. Even if price and foreign dopendence were unimportant,
we would still have to begin a transition away from oil and gas
to other fuel sources. The National Energy Plan relies on
three basic thrusts to guide this transition.
1.   Conservation
     The National Energy Plan combines regulatory programs,
     such as mandatory auto fuel economy standards, with econo-
     mic incentives to encourage more efficient use of energy.
     A key element of our conservation strategy is pricine enerav
     at its true replacement cost. This permits us to harness
     the marketplace to stimulate conservation.




                                                            P00000133971
     The basic mechanism for accomplishing replacement-cost
     pricing is the crude oil ecualization tax (COET). While
     controls are maintained on old oil supplies to prevent
     producer windfalls, the COET is imposed at the wellhead
     to bring oil prices to the world level.
     Revenues from the COET would be rebated to consumers
     on a ,per capita basis with a dollar for dollar rebate for
     home heating oil. The COET would be phased in over a
     three year period to prevent sharp economic disruptions
     and minimize inflationary impacts.
     A second key element of conservation is the oil and gas
     user tax, Very large industrial users of these fuels
     would pay a gradually increasing tax to:   (1) promote
     conservation, and (2) encourage conversion to alternate
     fuels.
     Revenues from the oil and gas user tax would be available to
     industry to offset the costs of conversion.
     The National Energy Plan provides other programs and
     incentives for conservation including:
            042
             grants and low interest loans for weatherizing
             low income homes
        e   reform of utility rate structures to discourage
            waste
        e    business and residential tax credits for insulation,
             solar and other conservation -investments
        e    retrofitting of federal buildings and local schools
             and hospitals
        o    a tax on gas guzzling automobiles to ensure that we
             meet fuel economy standards
        e    mandatory standards for major home appliances
2.    Conversion to Alternative Fuels
      coal makes up 90% of U.S. energy reserves, but it supplies
      only 18% of current demand. Renewable sources of energy --
      solar, wind, biomass, and geothermal -- are available in
      certain applications today. But major U.S. capital plant




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     investments made since the Arab oil embargo have not
     switched to these alternative fuels -- they have
     continued using oil and gas.
     Under the national energy plan, utilities and other
     major fuel burning installations will be prohibited
     from burning oil and gas, except where environmental
     considerations prohibit use of coal. Incentives in
     the form of tax credits are provided for conversion to
     coal and renewable resources. Nuclear energy, in the
     form of light water reactors, will fill a gap during
     this transition.
     Coal and renewable resources have been long neglected
     in our energy research and development budget. In our
     FY 1978 budget request, fossil fuel research increased
     by $42 million. Solar and renewables programs will
     be revamped and emphasized. The Energy Department s
     R&D program will continue to shift to make up for
     neglect in moving these types of transition
     technologies forward, and to overcome some of the
     current difficulties associated with burning coal.
3.   Incentives for New Production
     Incentives must be given to stimulate new exploration
     and production of oil and gas, from both conventional
     and unconventional sources. The Plan, however,
     differentiates between reasonable ,incentives and
     windfall profits which would accrue if the price of
     all oil and gas were completely deregulated. O
     prices are set by an international cartel, not a free
                                                       ermined
     prices.
      Nevertheless, the Plan, using discretionary authorities
      in existing law, provides for the equivalent of the

      countries demand royalty or severance taxes ar      g her
      than the U.S. But the oil producers are asking for
      even more--they would like to deregulate prices from
      oil wells, many of which were producing prof itably
      before the Arab oil embargo when the average domestic
      price of domestic oil was under $4 dollars per barrel.




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     Natural gas is an even more valuable energy source
     than oil--it is cleaner burning, more versatile, and
     does not require extensive refining. Demand for
     natural gas is high, and were the price deregulated,
     even just for new gas, the price would soar to levels
     equal or higher than the world price equivalent for
 *   oil.


     While we have had too much regulation of natural
     gas--over half the natural gas we now consume is
     priced at 32 cents per thousand cubic feet (mef)--much
     of this corces from wells drilled in the 1950's and
     Ib60's. Rewarding producers for past efforts which
     were profitably undertaken years ago ignores basic
     principles of equity.
     While the Energy Plan maintains controls on
     conventional suon11es ot new natural cas, the $1.75
     price per tnousano cubic teet is a generous increase
     over the current orice. Just one year ago, the
     Federal Power Commission set the price of new gas at
     $1.42--a price which was calculated to include: all
     increases in exploration and drilling costs, a 17%
     return on investment, compensation for loss of
     percentage depletion, a federal income tax rate of
     48% (while most companies actually pay far less than
     that), and an additional increase to encourage
     conservation.                       ·.
     Finally, Past experience in the unregulated intrastate
     gas market shows that higher prices have not managed
     to reverse the trend of dwindling supplies.
     For unconventional sources of oil and gas, the Plan
     would orovide the caulvalent of deregulated prices.
     M:nilar incentives are provided to encourage enhanced
     recovery from old oil and gas wells.
In summary, the National Energy Plan is designed to meet
seven basic goals by 1985:
     o      To reduce the growth rate in energy consumption
            to 2 percent per year;
     o      To reduce gasoline consumption by 10 percent;




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   o     To cut imports of foreign oil to less than
         6 million barrels a day, less than half the amount
         that we will be importing if we do not conserve;
   o     To establish a strategic petroleum reserve supply
         of at least a billion barrels, which will acet our
         needs for about 10 months;
   o     To increase our coal production by more than
         two-thirds, over 1 billion tons a year;
   o-.   To insulate 90 percent of American homes and all
         new buildings; and
   o     To use solar energy in more than 2 1/2 million
         American homes.
SCHEDULE OF MA7OR EVENTS

Week of 10/17 - 10/23
    o    House/Senate conference begins on conservation.
    o    President's trip to Michigan, Iowa, Colorado, and
         california with prepared energy speech in Des Moines
         on 10/21.
    O    President meets with Senators,'House conferees,.
         consumer leaders and AFL-CIO.

Week of 10/24 - 10/30
    o    House/Senate Conference continues on conservation,
         and possibly begins coal conversion.
    o    Senate/Finance Committee report on tax measures
         filed; floor debate begins. Action expected oy
         end of week or beginning of next.
    o     Regularly Scheduled Presidential news conference;
          regular meeting with newspaper editors.




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Week of 10/31 - 11/6
      042
       Cabinet activities in full swing.
      042
       Possible beginning of Conference action on tax
        portions.
      042
       Possible initial Conference consideration of
       utility rate reform and/or natural gas regulation.

Week of 11/7 - 11/13
        Regular regional editors briefing with the President.
      042
       Conference action continuing on all major controversial
       issues.
      042
       Regularly scheduled Presidential news conference.
Beyond this point it is difficult to predict the issues under
consideration in the Conference or the timing in moving toward
completion.
CONFERENCE INFORMATION
The House has one set of conferees for all issues.
Conference members were drawn from the Ad Hoc Committee
on Energy which has representation from all standing
committees with energy jurisdiction.
The Senate will have different sets of conferees for
different issues. For example on conservation, all Senate
Energy Committee members are participating. It is not now
known which Senators will be conferees on the tax related
portions of the bill, although they will be drawn from the
Senate Finance Committee.
The Senate will vote on five separate conference reports
(broken down to: conservation, coal conversion, utility
rate reform, natural gas, and tax measures). The House
will treat the Conference product as one bill.
OUTLINE OF MAJOR PROVISIONS OF THE NATIONAL ENERGY PLAN--SEE
ATTACHED CHARTS




                                                           P00000133976
                                  ACTIONS TAKEN ON TilE NATIONAL ENERGY PLAN

        Administration Proposal                       House Action                         Senate Action
CONSERVATIOt3


1.   Residential Conservation Tax credit
     - 25% of the first S800 for speci-         - A 20% credit for the                Finance Committee - adopted
       fied energy conservation measures.         first S2,000, for a                 tne House bill with an
     - 15% of the next $1,400.                    maximum credit of $400,             expanded list of eligible
     - The maximum credit is $410.                                                    conservation investments.

2.   Solar Tax credit
     - 40% of the first $1,000 and              - 30% of the first Sl +500            Finance Committee - adopted
       25% of the next 56,400 for               - 25% of the next $8,500              the Itouse bill and expanded
       qualifying solar equipment for           - The maximum credit is               the coverage to include
       the first several years,                   $2,150.                             leased equipment.
     - declining by 1982 to 25% of              - Includes wind equipment
       the first $1,000 and 15% of
       the next S6,400.
     - The maximum credit begins at
       S2,000 and declines to Si210
       in 1982.

3.   Weatherization Financing
     - $585 million direct grant program        Passed the Administration's           Same as House
       for low-income residence owners.         program and added a GNMA sub-
     - Creation of a secondary mort-            sidized interest rate loan
       gage market for residental       -       program for residences owned
       conservation loans.                      by individuals who earn up to
                                                90% of the median income.      Also
                                                raised the grant program cutoff
                                                to families with incomes at
                                                125% of the ~poverty level.


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                                  ACTIONS TAKEN ON TilE NATIONAL ENERGY PLAN

       Administration Proposal                        HouSe A
CONSERVATICH
Buildings (cont.)
4.   Utility Insulation Program
                                                                                An individual utility must
     Utilities would be required to             Pas   d             m   ar      petition DOE to be allowed
     offer insulation information'                                              to install or nake loans.
     offer loans repayable through              proposal with an oppor-
     utility bills and offer to                 tunity for States and   e
     arrange for installation.                  Pc   al gover o     to             air or deceptive.
                                                a utility if an anticom-        Otherwise siellar.
                                                petitive finding to made
                                                of any given utility's
                                                actions under the program.


5.   Schools and Itospitals conser-
     vation Program

      o St    s or t e i st   ation                 % n e ta n h     a ip                    e   sed     5   .
     and design of conservation                  cases): also expan             Also made the tax credit
     initiatives in schools and                  coverage to nursing homes
     hospitals,                                  and day care centors.          re           042

6.   Municipal Buildings
     Conservation Program
       No program                        .       Provides for energy audit      No program
                                                 and technical assistance
                                                 grants for energy conserving
                                                 initiatives in buildings
                                                 owned by units of local
                                                 government.




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                                 ACTIONS TAKEN ON TilE NATIONAL ENERGY PLAN

       Administration Proposà!                       ilouse Action                  Senate Action
CONSERVAflO3

Bu11dinas (cont.)
7.   Federal Buildings
     - Energy c(ficiency Program
       Retrofit program to reduce              Requires a schedule that                 a s u     on t e
       energy conservation 20% in all          meets total retrof t goa
       existing Federal buildings, and         of 204 by 1990.                                *
       45% in all new Federal buildings.        (legislative)                   9
       (Administrative)

     - Solar Program
       o   $100 million Federal building        same as Administration        Same as Administration
           solar demonstration program.
       o   Photovoltaics                        Added a $39 million           Same as House
                                                program for further devel-
             No program                         OPment of photovoltaic
                                                technology.


8.   Mandatory Standards For New
     Buldings
     Advanced the effectivo date                Authorized $20 million for    Same as House
     of previously existing standards           state aid to nect the
     for 1981 to 1980.                          Administration's objective.
     (Administrativo)




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                                        ACTIONS TAKEN ON THE NATIONAL ENERGY PLAN

        Administration Proposal                       llouse Action                        Senate Action
CONSERVATI0ti
Transportation
1,   Gas Guzzler Tax/Truck Standards
     Graduated excise tax on cars                Excise tax if fuel economy         The gas guzzler tax was rejected,
     and light trucks which fail to              falls note than 3 to 6 mpg         Instead, the Senate passed an .
     meet EPCA standards.   Graduated           below EPCA standardC. No            amendment to EPCA which Simply
     rebates for vehicles with fuel             rebates. Taxes in 1985 would        prohibits the construction of low
     economy above the standard.                range from a low of $397 to         mileage autonobiles (16 mpg in 1981
     Taxes begin in 1978.   The tax             $3,856 per car in 1985.             rising to 22 mpg in 1985), and
     in 1985 would range froa a low             Eliminates applicability            doubles the civil penalties
     of $67 per car to a high of                to trucks.                          assessed against the companies
     $2,488. Also inplemented existing                                              for not meeting the EPCA
     discretionary authority to set                                                 average fleet standards.
     truck standards.

2,   Gasoline Taxes
     Standby tax - five cents per gallon        Rejected standby tax. Extended      Same as House
     tax in 1979, increasing 5 cents every      existing 4 cent excise tax to
     year in which consumption exceeds cor-     1985.
     tain predetermined target levels.
     Taxes would be rebated on a per
     capita basis through the tax system.

3.   Blended Motor Fuela                        No program                          Exempted motor fuela using a blend
                                                                                    of alcohol from the gasoline excise
      No program                                                                    tax.




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                                     ACTIONS TAKEt3 ON THE NATIONAL ENERGY PLAN


        Administration Proposal                     House Action                        Senate Action
CONSERVATION

Transportation (cont.)
4.   Deduction for State and Local            Repeals Federal tax deduction       Finance Committee - rejected repeal
     casoline Taxes                           for State and local taxes on        oi deduction.
                                              gasoline.
     No proposal.


5.   Repeal 10% excise tax on                 similar to Administration           Finance Committec - Same as House.
     inter-city buses,                        but expanded to cover               Also added a   year, S200 million
                                              excise tax on all buses             refundable tax credit for inter-
                                              and bus parts, and on               city buses and terminals to reduce
                                              certain' related equipment.         fares and improve facilities.

6.   Electric Automobiles
     Bligible for maximum gas                 Provided for a S300 tax credit      Finance Committee - same as 80080.
     guzzler rebate,                          for any electric automobile.'




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                                       ACTIONS TAKEN ON THE NATIONAL ENERGY PLAN


          Administration Proposal                     House Action                       Senate Action
CONSEBVATION

Transportation (cont.)
7.   Aviation and Harine Fuel
     Current 2 cent tax rebate on               Adopted proposal on marine         Sane as House
     marine fuel would be elimin-               fuel. Aviation fuel pro-
     ated. Exciso tax on fuel used              posal not adopted.
     for noncommercial aviation
     would be increased from 7 cents
     to 11 cents.

8.   Van Pooling Programs
     Purchase 6,000 Pederal vans for            Deleted program                    Passed Administration*s program.
     demonstration pooling program.                                                Finance Committee - added a 20%
                                                                                   investment tax credit for vans
                                                                                   used by a taxpayer to trànsport
                                                                                   enployees to and from work.

9.   Other Programs
     --                                         --                                 rinance Connittee - provided for
                                                                                   a 10% investment tax credit for
                                                                                   transportation energy saving
                                                                                   devices.




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                                     ACTION TAKl;N ON Tils NATIONAL ENERGY PLAN


         Admittistration Proposal                    House Action                                senate Action
COtiSC1WATIOrt
Elcetrie utility pequiatory Policies
- rates nust be cost justified                  Administration propocal plus:                      ted bill that provides
- eliminate declining block rates
      er   te in    rot ib  d                              n of        ubì c C unsel's   - aut   rit     intervene in
- FERC autorized to require pool-                 offiC©                                 - information gathering on
  ling and wheeling to take advan-              - tight    i      of       ee o   tes      rates throughout the Nation
  tage of regional efficiences                                 n       program for       - lifeline rates nationwide
                                                  small hydroelectric facilities
                                                - prohibition against wholesale
                                                  rate increases without a
                                                  hearing
                                                - promotional advertising not
                                                  allowed in rates


crude oil Equalization Tax
(COET)
- tax the difference between                    Adopted the Administration's                anc   omittee        a e
  controlled oil Price levels and the           proposal but provided for                tions that if COET were adopted
  world prico, laposing the full tax            rebates only for the first
  over a three year period with three           year, and on a taxpayer, rather          in con erence,
  equal increments of tax                       than per capita, basis                   - the tax should be phased out over
- rebate the proceeds of the tax to
  every Afterican on a per capita basis   042                                            - the funds should be channeled
  through a reduction in withholding                                                       into energy development through
   for taxpayers or through appropriate                                                    an Energy Development Corporation
  state agencies for non-taxpayers                                                         or Trust Fund
- dollar for dollar rebate for home
   heating oil




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                                    ACTION TAKEtt ON TilE NATIONAL ENERGY PLAN


       Administration Proposal                       House Action                        Senate Action
CONSERVATIOt3

Industrial Cogeneration
- provides for an exemption                  - cogeneration equipment            - cogeneration equipment
  from PUC regulation of                       eligible for a 10% additional       eligible for 10% additional
  industrial cogenerators                      ITC                                 ITC
- cogeneration equipment eligible            - qualified cogenerators receive
  for 10% additional ITC                       preferred utility user tax
- exemption from oil and gas                   treatment under the oil and
  conversion requirenents if                   gas users tax
  necessary to get togeneration
  benefits
- prohibits discrimination
  by PUC or utilities against
  industrial cogenerators

Mandatory Appliance Standards
- requires establishment of mandatory        - requirco industry standards       - requires industry standards
  efficiency standards for seven cate-         for all 13 categories               for the seven categories in
  gories of base appliances. The             - establishes a two-year dead-        the NEP, plus two additional
  Administrator is given discretionary         line for the first seven            categories
  authority to set standards for six           categories, three years           - establishes a 1980 deadline
  other categories                             for the last six
- no deadline is established for
  standard setting




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                                  ACTIONS TAKEN ON THE NAT10ftAI, ENERGY PI,AN
       Administration Proposal                         llouse Action                   Senate Action
PRODUCT!0:1 Att0 CONVERSION
1.   Natural Gas Pricing Policy
     - Abandons cost-based pricing of            Same as Administration          - Dere9ulates new onchore
       new gas in favor of a commodity           proPosal except that:             production immediately
       value pricing approach.                     - New gas is defined          - Provides for 5 more years
     - Establishco a Btu-related new gas             to include gas frota          of offshore regulation
       price equal to the average price of           any new reservoir.            based on a new conmodity
       all donestic oil, or approximately          - Old intrastate con-           value formula.
       $1.75 per act by early next year,             tracts remain at their      - New gan is more loosely
       which increases to over $3.00 per             old price unless a            defined, including gas
       mcf by 1985.                                  higher price is needed        from new reservoirs
     - Old interstate contracts stay at              to maintain production,       and extensions of
       the current price unless a higher                                           existing reservoirs.
       price is needed to maintain                                        .      - Old intrastate con-
       production,                                                                 tracts get the deregu-
     - Old intrastate contracts                                                    lated prices.
       increase to the $1.75 level.
     - High cost new production is eligible
       for a special incentive price (deep
       drilling, tight formations, geopres-
       surized methane, Devonian shale,
       etc.).
     - Incremental pricing passes the
       higher costs of new gas first to
       the industrial sector.
     - New gas is defined as anything
       beyond 2 1/2 miles of an existing
       well or 1,000 feet deeper than any
       well within the 2 1/2 miles radius.
     Cost to consorser-$15 billion over    .     Cost to Consumer-$1 billion     cost to consumer-
     current approach from '78 to '85.           over Administration approach    $70 billion over House
                                                                                 from '78 to '85

     Gas Production Increase-l.1 addi-           Gas production Increase-same    Gas Production Increase-
     tional trillion cubic feet in '85,          as Administration               .4 trillion cubic feet
                                                                                 over House in     85
                                                                                                               9




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                                    ACTIONS TAKEN ON TIIE NATIONAL ENERGY PLAN
         Administration Proposal                        House Action                        Senate Action
PRODUCTION AfID CONVERSION

2.   Oil Pricing Policy
     (Administrative)
     o   current upper and lower tiers            No action required                 No action required
         are granted increases with
         inflation.
     O   New oil is allowed to rise over
         three years to today's world
         price, plus inflation.
     o   Tertiary recovery is allowed
         today's world price immediately.
         Savingo to Consumers-$10 billion
         from '78 to '95.
         Oil production increase-100,000
         barreia per day by 1985.
3.   Oil and Gas tiinimum Tax Treatment
     on Intangible Drilling Costs (IDC)
     011 and gas producers pay a minimum          Adopted Administration         -   Adopted Administration
     tax only on the portion of IDC               position,                          position.
     deductions that exceeds the net
     income fron oil and gas properties.
     This gives all independent producers
     the same treatment previously
     available primarily to majors.

4.   Geothermal Production                  042
     Grants the same intangible                   Accepted the Administration's      rinance Committee-
     drilling cost deduction that                 proposal and also granted a        - accepts nouse action on
     is available to oil and gas                  10% depletion allowance.              intangible drilling costa.
     Producers.                                                                      - grants a 22% depletion
                                                                                       allowance.
                                                                                                                     10




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                                  ACTIONS TAKEN Ot1 TilE NATIONAL ENERGY PLAN
        Administration Proposal                        House Action                    Senato Action
PRODUCTIOtl AND CONVCRSION
5.   Geopressurized :lethane
     Provided the special high cost             Sane as Administration          Finance Committee-
     pricing provision discussed                                                In addition to the deregu-
     above in the natural gas bill.                                             lation provided for in the
                                                                                gas pricing bill which passed
                                                                                the senate, the Com:aittee
                                                                                also provided for a
                                                                                -S.50 per met tax credit
                                                                                -20% investment tax credit
                                                                                -10% depletion allowance
                                                                                -Intangible drilling coat
                                                                                 deduction.

6.   Shale oil
     Provided with the world                    No action                       Finance Committoo -
     oil price (Administrative)                                                 provided an additional $3
                                                                                per barrel tax credit    042



7.   Nonconventional Gas
     Provided the special high cost             Same as Administration          Finance Committee -
     pricing provision discussed                                                $.50 per scf credit.
     above in the natural gas bill.




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                                   ACTIONS TAMEN ON THE NATIONAL ENERGY PLAN
        Administration Proposai                        llouse Action                 Senate Action
PRODUCTION AND COtWERSION
8.   Peat                                        No action                     Pinence Committee - Ipereases
                                                                               depletion allowance from
       No action                                                               5% to 10%.



9.   Business Energy Tax credits
     Additional 10% investment tax               Similar to the Adminis-       Finance Committee -
     credit fort                                 tration but excludes          similar, out list of
     - innulation of existing                    heat pumps from eitgible      cligible property is
       facilities,                               property.                     expanded to includo recy-
     - alternative energy property:                                            cling equipment.
       boilera and other combustors              Also eliminates the
       using coal or other fuels,                regular investment            Also passed a refundable
       solar, low Btu coal gas, etc.             tax credit for any new        40% alternative energy
     - specially defined energy                  oil or gas fired facili-      property credit.   This
       property (conservation                    lities, unless such           credit expands the alter-
       equipment), but only if                   facilities are exempted       native property definition
       retrofit onto existing                    from the regulatory           to include geothermal, feed-
       facilities.                               Program discussed below.      stocks from coal, hydro
                                                                               power, solar and wind, and
                                                                               ocean and tidal power.




                                                                                                               P00000133988
                                  ACTIONS TAKEN ON THE NATIONAL ENERGY PLAN
       Adminititration Proposal                __ llouse Action                             Senato Action
PRODUCTIOtl Atl0 CONVERSIOH
10. Oil and Gas Users Tax
    - Tax on 1000 largest (85,000 bbl/yr       The coverage is expanded by           Finance Coesittee -
      or more) industrial and utility          using a 50,000 bbl/yr exenption,      rejected the user tax and
      users. Oil is taxed at a flat            which includes approximately          rebates. Instead, relled
      rate, increasing to $3 por bbi            the 1400 largest firms.    A lower   upon tax credits only,
      in 1905 for industrial users.             tax rate is imposed for oil and      including the new 40%
      Natural gas taxed at an amount           gas use by nonboilers. Exemp-         alternative energy prop-
      set to make its cost equal to the        tions are provided for envi-          erty investment tax credit
      pre-tax cost of distillate oil by        ronmental reasons and for             described above.
      1985. Utilities are taxed at 1/2         most process uses where
      the industrial rate for oil and          the flame comes into con-
      the phase-in for both the oil and        tact with the product.
      gas utility taxes is slower.
    - Credit against user taxes. Any           $1milar to Administration             Finance Committee -
      investeent in alternative energy          proposal, except that if             No provisions relied
      property (defined in the Business         a company elects to utilize          solely upon tax credits.
      Energy Tax credit section above)          the user tax credit, it is           (See above)
      is eligible for a 100t credit             ineligible for either the
      against current year user taxes.          regular 10% or the addi-
      Carry forward of any remaining            tional 10% energy invest-
      credit.                                   nont tax credit.
      Utilities are eligible for the
      credit only to replace existing
      oil or gas fired facilities.
      Firma must elect between this
      credit and the business energy
      investment tax credit.




                                                                                                                  13




                                                                                                                       P00000133989
                                 ACTIONS TAKEN ON TilE NATIONAL ENERGY PLAN
       Alninantration Progw.nl                       iluune Action                   Senato Action
PRODUCTIOtl AND COtNERSION
11. Coal Conversion Renulatory Progran
    - Dianket prohibition on any new           Accepted Administration        similar to Administration
      utility or major industrial              progran except the             program except the
      boiler that burns oil or gas.            coverage of existing           coverage is only down
    - Discretionary authority to               facilities extends only        to 30 negawatts for
      prohibit use in nonboilers.              to 30 negawatt or larger       new oil facilitico,
    - Case by case approach for                facilitiess snaller units      10 megawatts for gas,
      ordering existing facilities to          may be included in the
      convert to alternative fuels.            prohibitions if certain        Provides for only 11atted
    - Exemptions allowed if coal can-          findings are made,             nonboiler authority,
      not be used for environmental,
      economic or technical reasons.           No nonboiler authority.
    - Covers facilities of 10
      megawatts or greater.
    - All utilities are required to
      be off natural gas for baseload
      purposes by 1990.




                                                                                                          14




                                                                                                               P00000133990
                                         October 19, 1977


             1985 Energy and Revenue Impacts of
        Administration, House and Senate Energy Bills

                             (Oil savings in thousands of
                             barrels per day)
                           Administration     House     Senate
Energy Savings Estimates
  Congervation Programs
    o   Transportation             355          275          175
    o   Buildings,
         Appliances
         and Industrial           955         1,015        1,025
              Subtotal          1,310         1,290        1,200
  Production and
    Conversion Programs         3,190         1,610        2,200
              Total             4,500         2,900       3,400
Revenue Impacts                +1,000       -19,0002    -55,0003po
(million current                                         65,000-
 dollars)



1/ Preliminary estimates
2/ Assumes full rebate of crude oil equalization tax.      If
   rebate is only for FY 1978, net impact is a + $7.6
   billion.
3/ Pinal estimates being developed by the Administration
   and Joint Committee on Taxation.




                                                             P00000133991
              COMPARING THE CARTER PLAN
                 AND PREVIOUS PLANS
Q.   It seems to me that the Carter Energy Plan basically
     relies on higher prices to encourage conservation.
     That is exactly what the Ford Energy Plan did. How
     does the Carter plan differ from the Ford Plan?
A.   The Carter Plan attempts to affect the invests:ent
     decisions of American consumers and industry through
     a pragmatic combination of regulation and higher prices.

     Both the Ford and Carter plans rely on higher prices.
     The basic difference is who receives the proceeds of
     those higher prices.   Under the Ford Plan, billions
     upon billions of these dollars would have gone to the
     nation's oil and gas producers.

     Under the National Energy Plan, almost all the
     increases in price - with the exception of the gas
     guzzler tax and a small portion of ,the user taxe - are
     returned directly to the American public and the economy.

     Thus, the National Energy Plan provides a blueprint for
     reaching our energy objectives without disadvantaging or
     unjustly enriching any segment of society.    It is also

     a comprehensive proposal that uses regulation, as well
     as the pricing mechanism, in the area of conservation,
     coal conversion, and utility rate reform.    It covers
     many more aspects of the energy problem with a far

      broader range of approaches -than previous plans.




                                                            P00000133992
                   INSULATION CREDIT
Q.   Your residential insulation credit is likely to
       substantially increase the demand for residential
       insulation. If the' industry does not have the
       capacity to meet this demand, the result will simply
       be increased insulation prices which will in turn eat
       away at the benefits associated with the credit.
       Why has the Administration proposed such a circular
     . program that ends up benefiting only the insulation
      'manufacturers?
A.    A number of different studies of the capacity of the
      insulation industry to meet increasing demand under the
      National Energy Plan reach differing conclusions.     For
      this reason we intend to carefully monitor industry
      claims that capacity will double in the next several
      years and that supply will be sufficient.     If prices
      begin rising or if anyone takes advantage of tightening
      supplies, the Administration will be prepared to act.

      It is important to note, however, that the tax credit in
      question applies to conservation measures other than
      just insulation.     If the price of insulation does rise
      to the point where an investment in it is not cost-
      effective, then homeowners will shift their conservation
      investments from insulation to storm doors or windows or
      clock thermostats.     Even if insulation prices do rise as
      a result of increased demand, the credit will thus result
      in much-needed energy savings.




                                                                P00000133993
                       EcottOMIC IMPACT
Q.    What is the impact on the economy of the National Energy
      Plan? With all the taxes and the money being drained
      from the economy, won't it result in reduced GNP, and
      increased inflation and unemployment?
A.    A number of different analyses, including our own,
     . conclude that the Plan will have no significant impact
      on the growth of real Gross National Product (GNP) or
      unemployment in the 1977-1981 period.     The Plan will
      have a measurable, but modest net inflationary impact

      of 0.3 to 0.4 percent annually over the next two years
      and 0.1 to 0.3 percent annually over the following two

      years.

       Under the plan, taxes collected are recycled immediately
       back into the economy.     This reduces to an absolute
       minimum the potential fiscal drag effects of the
       higher energy prices that are designed to help
       change energy investment habits.     Additionally the

       insulation and new construction activity which will
       result from the plan will stimulate the economy and
       provide jobs.     Initiatives like utility rate reform
       will reduce utility industry capital requirements by
       $40 to $75 billion between now and 1985, thus

       offsetting some of the higher energy costs that will
       result from the Plan.




                                                                P00000133994
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The National Energy Plan is designed to help the
nation avert the total economic disaster that would
occur if imports are not reduced and the ti:ne
approaches when world oil demand runs into world oil
supply.




                                                       P00000133995
          THE PLAN AND THE ENVIRONMENT

Q. Isn't the Energy Plan, particularly coal conversion,
   detrimental to the environment?

A. Under the coal conversion program we estimate that
   over 1/3 of all new industrial facilities will
   be burning coal. About 10% of existing facilities
   will convert, and an additional 10% will either
   convert or be retired earlier than they would
   have been without the Plan.
   These are relatively conservative estimates and
   assume that coal cannot be burned in some areas
   of the country because of environmental restrictions.
   The Plan does not require that conversion take
   place on facilities which would be unable to
   meet ambient air quality standards. The Administration
   has also supported requiring all coal plants to
   use best available control technology to provide
   additional margins of protection.
   The National Energy Plan recognizes that there are
   some questions, such as the impact of carbon dioxide
   (CO2), which need further study.   These efforts are
   currently underway. The Department of Energy will
   also be funding a strong research and development
   program to develoP better ways of burning coal.




                                                        P00000133996
               MASS TRANSIT

Q.   Mass transit is one of the most efficient means
     of saving energy in urban areas, why didn't
     the National Energy Plan deal with this issue?

A.   The Secretary of Transportation, Brock Adams,
     has been working on development of a comprehensive
     national transportation policy since last spring.
     In recent years, a number of serious economic
     questions have been raised about the viability
     of traditional, fixed-rail transit options. Since
     a detailed analysis of urban transit questions
     was to be undertaken in the DoT review, the
     Administration determined that it was best to
     address these issues in that context.
     The Administration does, however, place a high
     priority on finding responsible, economically
     sound answers to mass transit problems.




                                                       P00000133997
              ADEQUACY OF PRODUCTION INCENTIVES


Q.    The major emphasis in the program appears to be on
      conservation. But production of energy in this
      country is just as important. Why doesn't your
      program have any production incentives in it?
A.    The National Energy Plan provides for very generous
     ' production incentives.   New oil will be given the
      highest price available anywhere in the world -- the
      $14.50 per barrel world oil price.    This encourages
      producers to explore for new supplies knowing they
      will receive the maximum net return per barrel for new
      oil.

      The Plan does not, however, allow producers of oil
      from old wells to receive the world price.    Most costs
      associated with these wells are already sunk, and most
      were drilled in expectation of a substantially lower
      price than is available today.    The inventory profits
      that would result from deregulating such old oil would
      be unrelated to any new productive activity on the
      part of the producers, and would only contribute to
       accelerating inflation of production inputs (rigs,
      pipe, etc.) This would not produce any significant new
       supplies of energy.

       The natural gas pricing provisions in the National
       Energy Plan abandon the cost based over-regulation of




                                                              P00000133998
                     2


the past in favor of a, new commodity value pricing
approach that establishes a price for new natural gas
at the stu equivalent price of domestic oil.     This
price will start at $1.75 per thousand cubic feet
(mef) later this year and rise to over $3.00 per mcf
by 1985.   It will move up with the oil price.    This is
a price substantially higher than the regulated price
for new interstate gas of just 50 cents per acf
several years ago.   It represents a six to seven fold
increase in natural gas prices since the embargo.       It
compares favorably with the $1.45 mef price set last
year by the FPC which allowed for a generous 17% rate
of return and for a 48% tax level (which few if any
oil companies actually pay).   Additionally, special
high cost new production from unconventional sources
(such as deep drilling, tight formations, Devonian
shale, geo-pressurized methane) would be deregulated.

The National Energy Plan's gas pricing approach would
increase gas producer revenues by over $15 billion
between now and 1985.    It would produce over 1 trillion
cubic feet of additional gas in 1985.    While deregula-
tion would increase revenues by at least another $70




                                                         P00000133999
                     3


billion, it would increase production by only 2% in
1985.   The National Energy Plan sets the natural gas
price at a level which maximizes production and avoids
unfair and unproductive revenues accruing to the

producers.




                                                        P00000134000
            DEREGULATION:   WHY NOT?

Q.   Natural gas production has been steadily dropping.
     Why not give deregulation a try and see what a
     free market would produce?

A.   First, the free market isn't free. Gas prices
     would be set at the equivalent of the world price
     of oil. And that is set by the OPEC cartel.
     We currently use a system where expensive supplies
     of gas are "rolled in" with cheaper supplies.
     Since over half of all interstate gas is still
     priced at 32¢ per thousand cubic feet (Mcf),
     deregulated prices of new gas could rise well
     above the equivalent of the world oil price and
     still stay within relatively competitive margins
     when rolled in.
     But even $4, SS, or $6 per Mcf does not produce
     very much more conventional natural gas than
     would the $1.75 per Mcf price in the National
     Energy Plan. The President's proposal will in-
     crease natural gas production by over 1 trillion
     cubic feet in 1985 as compared with the production
     which would result from the current controlled
     price of $1.45 per Mcf.
     The cumulative increase in gas producer revenues
     is S15 billion from 1978 to 1985 over the current
     system.
     Deregulation would cost another $70 billion, but
     would produce only 2% more gas (400 bef) in that
     year. Under deregulation, the price of this
     increment of supply would be $64.00 per Mcf --
     an exorbitant price to pay for so littic supply.




                                                   P00000134001
            CAMPAIGN PROMISE ON
                NATURAL GAS
Q.   During the campaign, the President pledged
     to work with the Congress to deregulate
     natural gas. Why did he change his mind so
     drastically on such a critical issue?

A.   The President carefully reviewed his campaign
     statement on natural gas deregulation prior
     to announcement of the National Energy Plan.
     A key consideration in his analysis was
     what the economic impacts of such a step would
     be at this time. The President determined
     that the consequences of deregulation would
     be disastrous for the economy. He added
     that it would not solve long range problems
     of dwindling supply.

     In his April 20 address to the congress, the
     President stated, "I want to work with the
     Congress to give gas producers an adequate
     incentive for exploration, working carefully
     toward deregulation of newly discovered
     natural gas as market conditions permit."

     By providing a substantially higher price
     for new natural gas -- which phases upwards
     to the world price over time -- the National
     Energy Plan provides producers with fair
     incentives for production without substantial
     economic disraption or unwarranted windfall
     profits.




                                                  P00000134002
        LAST MINUTE EFFORT

Q.   Why did the Administration wait until so late
     to begin what appears to be a last minute,
     desparation blitz to save its energy bill?

A.   It is important to remember that the National
     Energy Plan contains some 113 proposals. After
     the President's initial announcement and meetings
     with House members, the legislation was spread
     out in sections to numerous Committees in both
     the House and Senate. It has been difficult to
     focus public attention on all the elements of
     the plan under these circumstances.
     The House-Senate conference which begins soon is the
     first time since late last spring when attention
     could be drawn to one group and one set of issues.
     It has been clear for some time that the Conference
     would be a critical phaso in the shaping of the
     National Energy Plan. To all minds, this is the
     most appropriate time to launch an all-out effort
     to enact the Administration's -proposals.




                                                     P00000134003
          GAS OUZZLER TAX AND THE IARGE FAMILY

Q.   Doesn't the gas guzzler tax seriously dis-
     criminate against the large family that needs
     a station wagon or sedan as a family car?
A.   It does not, because Detroit has already begun
     manufacturing family size sedans and station
     wagons which get very impressive mileage. While
     these cars are not high-speed, high performance,
     their driveability represents a sound and
     acceptable trade-off for increased fuel economy.
     Numerous makes and models are available to
     meet the needs of larger families while meeting
     the required mileage as well.




                                                  P00000134004
          GAS OUZZLER TAX AND THE IARGE FAMILY

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     criminate against the large family that needs
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     these cars are not high-speed, high performance,
     their driveability represents a sound and
     acceptable trade-off for increased fuel economy.
     Numerous makes and models are available to
     meet the needs of larger families while meeting
     the required mileage as well.




                                                  P00000134005
                    OPEC PRICES

Q.   If a major concern about the energy problem is
     OPEC prices, why does the Administration
     tie its crude oil equalization tax to the OPEC
     price?
A.   The crude oil equalization tax (COET) taxes the
     difference between the price of controlled
     domestic oil and the 1977 world oil price, ad-
     justed for inflation. The tax would be phased in
     over a three year period. Whether we like it
     or not, the world oil price reflects the cost
     of replacing a marginal barrel of oil. If the
     cost of domestic oil is less than the world
     price, the U.S. will continue to subsidize
     increasing levels of imports which we cannot
     afford.
     The COET will recoup for the consumer the dif-
     ference between the controlled oil price and the
     world price. This provides a strong measure of
     protection to U.S. consumers and to our economy.
     Additional protection is provided in the Ad-
     Ininistration's plan by tying COET to the 1977
     world price, adjusted for inflation. If the
     actual world price should increase faster than
     inflation, the U.S. costs need not go up that
     quickly.




                                                      P00000134006
            FOREIGN COMPETITION

Q.   Doesn't the proposed oil and gas user tax
     discriminate against United States industries
     vis a vis their foreign competitors?

A.   The oil and gas user tax should not have any
     appreciable impact on the competitive position
     of United States.industries for the following
     reasons:
     1.   The price impacts resulting from the tax
          average less than 1% for all industrial
          categories, and, except for aluminum,
          less than 2% for any individual industry.
     2.   The taxes will be equivalent to the world
          price excePt for boiler gse of oil. In
          that case, the tax is $3.00 above the world
          price. If oil isn't made more expensive
          than gas, boiler users would likely shift
          to increasing amounts of residual fuel
          oil, putting a further strain on imports.




                                                        P00000134007
          IMPACT ON THE FEDERAL BUDGET


Q.   What is the impact on the Federal Budget of
     the massive expenditures of the National Energy
     Plan, particularly the tax portions?

A.   As submitted to the Congress, the National Energy
     Plan would yield about a $1 billion surplus to
     the Treasury, on a cumulative basis between now
     and 1980.
     The bill passed by the House would result in
     a $19 billion cumulative deficit between 1978
     and 1985. This loss of revenue is due primarily
     to changes in the the oil and gas user tax which exempt
     various categories of industry.
     The budget deficit created by the action of the
     Senate (with the tax portions calculated on the
     basis of Senate Finance Committee action) would
     be $55 billion, 1978-1985. This level of deficit
     is not necessary and is unacceptably high.
     The Administration has stressed its concern that
     the energy plan not raid the Federal Treasury.
     The Administration will work with the Conferees
     to develop legislation which comes as close as
     possible to providing a balanced energy budget.




                                                       P00000134008
                  IMPACT OF PROGRAM

Q.   Won't this program impose the largest peacetime tax in
     the Nation's history? The Chamber of Commerce, among
     others, have claimed that the program will cost S1,400
     per person in increased energy costs. How can we
     tolerate such impacts?
A.   Those who would make such claims are deliberately
     misleading the public.

     There are two major taxes in the Plan -- the crude Oil
     Equalization Tax (COET) and the oil and gas users tax.
     Neither is designed to raise revenues, but rather to
     change price relationships for the purpose of affecting
     energy investment decisions.

     COET is designed to bring the price of domestic oil up
     to its true marginal OPEC cost and almost the entire
     proceeds of the tax are rebated to American consumers.
     It is interesting that many of those who oppose the tax,
     nonetheless favor deregulation of natural gas prices.
     Deregulation would result in an equivalent amount of
     billions over the same period of time being drained
     from the economy.   Instead of being rebated, however,
     such revenues would permanently accrue to a handful of
     oil companies.   The real danger to the economy from a
     drain on disposable income is deregulation, not COET.




                                                            P00000134009
                    IMPACT ON POOR

Q.   The cornerstone of the plan seems to be higher energy
     prices. Those who can least afford these prices are
     the poor. But the plan does nothing for them. How
     can you have a plan that relies on higher prices
     without helping the poor?

A. .While the National Energy Plan recognizes that energy
     prices must increse, it also recognizes that these
     increases cannot occur at the expense of the poor and
     near poor.   The Plan is orogressive.

     Through rebates from the well-head tax, the total income
     of poor people is increased by $3.5 billion during the
     first three years of the program.

     The overall impact of the National Energy Plan on the
     poor will be to increase disposable income by 3 per-
     cent over what it would otherwise be in 1985 without
     the Plan.    By 1985, the Plan will reduce home fuel
     expenditures by about $100 for poor households.

     The Plan contains a number of specific programs designed
     to help keep energy costs down for low income people:
          o   The National Energy Plan increases the monies
              available for weatherization orants to $585
              million.    This is three times higher than the
              previous program and will cover 14 million U.S.
              families.




                                                             P00000134010
                        2

    o   Continuation of natural gas price controls and
        and use of incremental pricing for industry
        which will shield consumers from natural gas
        price increases,

o       Emergency assistance orogram administered through
        HEW to aid in times of special need, such as an
        extremely cold winter.

o       Minimum requirements for utility rate reform to
        help reduce costs of electricity for low income
        families.   (Note: the Administration plan does
        not require "life-line" rates to provide sub-
        sistence levels of energy at low prices, but
        the Administration has been supportive of
        initiatives undertaken by scate public utility
        commissions to develop these types of programs.)




                                                       P00000134011
                    NUCLEAR POWER

Q.   In the Energy Plan and during the President's campaign,
     he spoke of nuclear energy as the energy source of last
     resort. But the plan seems to call for a substantial
     increase in the number of nuclear plants, and nuclear
     licensing legislation, which your Administration now
     has under consideration, would appear to facilitate
     that expansion of our reliance on nuclear energy. How
     do you account for the difference between the campaign
     rhetoric and the actual substance of the Plan?

A.   The real danger from nuclear energy is the possibility
     of our moving toward a plutonium economy.   The threat
     to our health, as well as the political stability of
     the world, from the proliferation and free trade of
     plutonium is serious.

     That is one of the reasons why the President has opposed
     construction of the Clinch River Breeder Reactor
     Project.   He is taking the lead in curtailing the spread
     of plutonium-based nuclear technologies by asking other
     countries to join with us to evaluate alternatives to
     the plutonium economy.

     The Light Water Reactor can provide a reliable and safe
     source of needed electricity.

     As we face the reality of the need to lessen our
     dependence on oil and natural gas, coal and nuclear
     energy are essential options which both must be pursued.




                                                            P00000134012
              BIG GOVERNMENT

Q.   Doesn't the National Energy Plan represent a
     massive increase in Federal power over the economy?
A.   The National Energy Plan was designed to keep
     Government's intervention into the lives of American
     citizens to an absolute minimum.   It is for this
     reason that the tax on crude oil, the oil and gas
     users tax on large industries, and a tax on gas
     guzzling cars were proposed.   They are all measures
     designed to affect investment decisions while pre-
     serving the individual's freedom of choice.
     We could have gone the heavy regulation approach,
     relying on initiatives such as rationing, and
     allocation.   But we didn't.   Through the use of
     incentives, the President wanted to give the
     American public a chance to act voluntarily.    The
     President has stated, however, that if this fails,
     mandatory measures will be proposed.




                                                         P00000134013
                    GOALS OF THE PLAN

Q.    Numerous studies have indicated that the national Energy
      Plan simply falls short of the goals set by the
      President. Why bother if the plan is so deficient?
A.    It is interesting to note that all the studies of the
      Plan had positive things to say about it.     CBO, GAO,
     . and OTA, all agreed with the general thrust of the Plan,

      Only CBO did an independent estimate of the Plan's
      total savings.     They found that the Plan would achieve
      about 75% of the savings outlined in the President's
      goals.   The basic area of difference was in the
      projected savings under the Coal Conversion program.
      CSO estimated a lower level of coal use by new facili-
      ties -than the Administration did.    The Administration
      believes its estimates are more realistic since it
      would have authority to ban oil and gas use in new
      facilities.   For most other areas in the Plan, CBO
      agreed with our projections.

      To the extent that any projections fall short of the
      goals laid out by the President, such findings tend to
      argue for a plan even stronger than the Congress is
      now considering.




                                                                P00000134014
